         Case 1:23-mj-00115-MAU Document 8 Filed 06/15/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
 UNITED STATES OF AMERICA,                    )
                                              ) Criminal No. 1:23-mj-00115-MAU
        v.                                    )
                                              )
 JAY JAMES JOHNSTON,                          )
                                              )
               Defendant.                     )
                                              )

                         ENTRY OF APPEARANCE OF COUNSEL

       Notice is hereby given that Stanley E. Woodward, Jr. of the law firm Brand Woodward

Law, LP enters his appearance as counsel for Defendant Jay James Johnston.



 Dated: June 15, 2023                    Respectfully submitted,

                                                /s/ Stanley E. Woodward, Jr.
                                         Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                         BRAND WOODWARD LAW, LP
                                         400 Fifth Street, Northwest
                                         Suite 300
                                         Washington, DC 20001
                                         202-996-7447 (telephone)
                                         202-996-0113 (facsimile)
                                         Stanley@BrandWoodwardLaw.com

                                         Counsel for Defendant Jay James Johnston
          Case 1:23-mj-00115-MAU Document 8 Filed 06/15/23 Page 2 of 2




                                  CERTIFICATE OF SERVICE

        On June 15, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification to all parties of record.



                                                     /s/ Stanley E. Woodward, Jr.
                                              Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                              BRAND WOODWARD LAW, LP
                                              400 Fifth Street, Northwest
                                              Suite 300
                                              Washington, DC 20001
                                              202-996-7447 (telephone)
                                              202-996-0113 (facsimile)
                                              Stanley@BrandWoodwardLaw.com

                                              Counsel for Defendant Jay James Johnston
